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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - TRIAL

CaseNo. CV 18-08048 SVW (JCx) Date December 6, 2019

 

 

Title: Vernon Unsworth v. Elon Musk

 

Present: The Honorable STEPHEN V. WILSON, U.S. DISTRICT JUDGE

 

 

 

 

 

Paul M. Cruz/Lori Stanton Anne Kielwasser (AM); Laura Elias (PM)
Deputy Clerk Court Reporter/Recorder
Attorneys Present for Plaintiff(s): Attommeys Present for Defendants:
L. Lin Wood: G. Taylor Wilson; Nicole Jennings Alexander Spiro; Robert M. Schwartz; William Price:
Wade: Matt Wood Ellyde Thompson; Michael T. Lifrak
Day Court Trial 4th Day Jury Trial
One day trial: Begun (1* day); Held & Continued; X Completed by jury verdict/submitted to court.

The Jury is impaneled and sworn.

Opening statements made by

 

 

 

 

 

 

 

Witnesses called, sworn and testified. __ Exhibits Identified __ Exhibits admitted.
Plaintiff(s) rest. Defendant(s) rest.
y Closing arguments made by y plaintiff(s) Y defendant(s). Y¥ Court instructs jury.
7 Bailiff(s) sworn. wa Jury retires to deliberate. _ Jury resumes deliberations.
Y Jury Verdict in favor of a plaintiff(s) Y defendant(s) is read and filed.
_ Jury polled. y Polling waived. _
A Filed Witness & Exhibit Lists y Filed jury notes. Y Filed jury instructions.
a Judgment by Court for a a plaintiff(s) defendant(s).
_ Findings, Conclusions of Law & Judgment to be prepared by plaintiff(s) _ defendant(s).
_ Case submitted. Briefs to be filed by _ a
a Motion to dismiss by _ is granted. denied. submitted.
__ Motion for mistrial by is granted. __ denied. 7 submitted.
Motion for Judgment/Directed Verdict by is granted. denied. submitted.
_ Settlement reached and placed on the record. a _ _
y Clerk reviewed admitted exhibits with counsel to be submitted to the Jury/Court for deliberation/findings.
YY Counsel stipulate to the return of exhibits upon the conclusion of trial. Exhibit Release Form prepared and filed.
a Trial subpoenaed documents returned to subpoenaing party.
a Case continued to for further trial/further jury deliberation.
__ Other:
5 45
Initials of Deputy Clerk PMC/LS

 

 

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